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Judgment in a Civil Case


                            United States District Court
                        WESTERN DISTRICT OF NEW YORK



TRISHA N. SEVERSON,                            JUDGMENT IN A CIVIL CASE
                                 Plaintiff,    CASE NUMBER: 21-CV-6680
      v.


C. MASSIELO, et al.,
                                 Defendants.

☐ Jury Verdict. This action came before the Court for a trial by jury. The issues have
been tried and the jury has rendered its verdict.

☒ Decision by Court. This action came to trial or hearing before the Court. The
issues have been tried or heard and a decision has been rendered.

IT IS ORDERED AND ADJUDGED that Amended Complaint is dismissed with
prejudice. The Court hereby certifies, pursuant to 28 U.S.C. § 1915(a)(3), that any
appeal from this Order would not be taken in good faith. Coppedge v. United States,
369 U.S. 438 (1962). Further requests to proceed on appeal in forma pauperis should
be directed on motion to the United States Court of Appeals for the Second Circuit in
accordance with Rule 24 of the Federal Rules of Appellate Procedure.



Date: May 10, 2022                                    MARY C. LOEWENGUTH
                                                      CLERK OF COURT

                                                      By: s/Rosemarie M. Eby-Collom
                                                          Deputy Clerk
